                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


DONALD J. TRUMP, Candidate for President of the
United States of America,

              Plaintiff,

       v.

 THE WISCONSIN ELECTIONS COMMISSION, and its
 members, ANN S. JACOBS, MARK L. THOMSEN,
 MARGE BOSTELMANN, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official capacities,
 SCOTT MCDONELL in his official capacity as the Dane
 County Clerk, GEORGE L. CHRISTENSON in his
 official capacity as the Milwaukee County Clerk,
 JULIETTA HENRY in her official capacity as the                     Case No. 20CV1785
 Milwaukee Election Director, CLAIRE WOODALL-
 VOGG in her official capacity as the Executive Director
 of the Milwaukee Election Commission, MAYOR TOM
 BARRETT, JIM OWCZARSKI, MAYOR SATYA
 RHODES-CONWAY, MARIBETH WITZEL-BEHL,
 MAYOR CORY MASON, TARA COOLIDGE, MAYOR
 JOHN ANTARAMIAN, MATT KRAUTER, MAYOR
 ERIC GENRICH, KRIS TESKE, in their official
 capacities; DOUGLAS J. LA FOLLETTE, Wisconsin
 Secretary of State, in his official capacity, and TONY
 EVERS, Governor of Wisconsin, in his official capacity.

              Defendants.


       UNOPPOSED MOTION TO ENLARGE TIME FOR REPLY BRIEFS BY
     DEFENDANTS IN SUPPORT OF THEIR MOTIONS FOR FEES AND COSTS


       Defendants Governor Tony Evers, George L. Christenson, Julietta Henry, Cory Mason,

Tara Coolidge, John Antaramian, Matt Krauter, Eric Genrich and Kris Teske, in their official

capacities (“Defendants”), and pursuant to Federal Rule of Civil Procedure 6 and Civil Local

Rule 7(c), submit this Unopposed Motion to Enlarge the Time To File Reply Briefs in Support of

Their Motions for Fees and Costs. In support of this Motion Defendants state as follows:


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          1.       Pursuant to Civil LR 7(c), Defendants’ reply brief is presently due Monday, July

26, 2021, which time has not expired.

          2.       This Court previously granted Plaintiff and his attorneys an additional three

months to file a consolidated response brief in opposition to the Defendants’ motions for attorney

fees.

          3.       There exist a number of scheduling and other matters making reasonable an

enlargement of the time in which Defendants may reply to the Plaintiff’s response brief which

include that:

               •      Governor Evers’s counsel has a week-long jury trial scheduled in the Eastern
                      District of Wisconsin during the reply brief period; and

               •      Various attorneys for Defendants are scheduled to be out of state over the next
                      several weeks, for pre-scheduled family vacations and work meetings.

          4.       Given that Plaintiff filed one consolidated brief in opposition to Defendants’

motions for fees and costs, it is both logical and desirable to have all Defendants file reply briefs

in support of those motions on the same schedule.

          5.       On Monday, July 12, 2021, Mr. William Bock, counsel for Plaintiff, authorized

Defendants’ counsel to represent that neither Mr. Bock nor his client objects to Defendants

receiving an enlargement of time to and including August 27, 2021 to file reply briefs in this

matter.

          6.       Based on the foregoing, Defendants’ motion for enlargement of time to reply is

reasonable, will not prejudice any party, is filed in good faith, and is not made to unduly delay

the proceedings in this matter.

          WHEREFORE, Defendants respectfully request the Court GRANT this Motion for

Enlargement of Time, and ORDER that the time in which Defendants may file a reply brief for



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their motions for fees is enlarged to include Friday, August 27, 2021, and for all other just and

proper relief.


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                            Cory Mason, Mayor of the City of Racine,
                            Tara Coolidge, City Clerk of the City of Racine,
                            John Antaramian, Mayor of the City of Kenosha,
                            Matt Krauter, City Clerk of the City of Kenosha,
                            Eric Genrich, Mayor of the City of Green Bay,
                            and Kris Teske, City Clerk of the City of Green Bay




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